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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:07-cr-00014-MP-AK

DANIEL M KLEIN,

      Defendant.
___________________________/

                                            ORDER

       This matter is before the Court on Doc. 105, First Motion to Continue Trial by Daniel M

Klein. A teleconference was held on September 14, 2007, in which the government indicated it

had no objection to this continuance. The motion is granted, and the trial is hereby reset to the

trial term beginning Tuesday, October 9, 2007. By making the motion, the defendant waives his

speedy trial rights with regard to this continuance.


       DONE AND ORDERED this 25th day of September, 2007


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
